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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINIOS


In re: DAVID T. FRANCIS                      §       Case No. 16-81466
       PATRICIA A. FRANCIS                   §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Lydia S. Meyer, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 06/15/2016.

       2) The plan was confirmed on 11/04/2016.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was completed on 09/05/2017.

       6) Number of months from filing or conversion to last payment: 14.

       7) Number of months case was pending: 17.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $622,601.10.

       10) Amount of unsecured claims discharged without full payment: $3,231.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor(s)            $ 41,169.00
      Less amount refunded to debtor(s)                       $ 1,900.12
NET RECEIPTS                                                                     $ 39,268.88



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                       $ 0.00
       Court Costs                                                 $ 0.00
       Trustee Expenses & Compensation                        $ 3,434.94
       Other                                                       $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                  $ 3,434.94

Attorney fees paid and disclosed by debtor(s):                $ 4,000.00



Scheduled Creditors:
Creditor                                        Claim        Claim       Claim    Principal    Interest
Name                                Class   Scheduled     Asserted    Allowed         Paid        Paid
SULAIMAN LAW GROUP, LTD.            Lgl      4,000.00     4,000.00        0.00        0.00        0.00
BANK OF AMERICA N.A.                Sec          0.00    31,041.62        0.00        0.00        0.00
BOONE COUNTY TREASURER              Uns          0.00          NA          NA         0.00        0.00
CITIMORTGAGE INC                    Sec          0.00   196,258.55        0.00        0.00        0.00
BMO HARRIS BANK NA                  Sec      5,938.00    11,546.10    9,375.00    9,375.00      247.56
BMO HARRIS BANK NA                  Uns      5,595.00         0.00    2,171.10    2,171.10       81.45
WELLS FARGO DEALER SERVICES         Sec      5,114.00     5,799.22    5,114.00    5,114.00      178.97
WELLS FARGO DEALER SERVICES         Uns      1,012.00         0.00      685.22      685.22       25.65
ILLINOIS DEPARTMENT OF              Pri      2,046.68     2,046.68      433.14      433.14       59.49
ILLINOIS DEPARTMENT OF              Uns          0.00       203.70        0.00        0.00        7.65
INTERNAL REVENUE SERVICE            Pri     17,713.00    16,830.62   16,830.62   16,830.62      532.23
INTERNAL REVENUE SERVICE            Uns          0.00        88.56       88.56       88.56        3.30
CHASE                               Uns      3,231.00          NA          NA         0.00        0.00
TERESA P LIVELY                     Uns          0.00          NA          NA         0.00        0.00




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Summary of Disbursements to Creditors:

                                               Claim             Principal           Interest
                                               Allowed           Paid                Paid
Secured Payments:
      Mortgage Ongoing                               $ 0.00           $ 0.00             $ 0.00
      Mortgage Arrearage                             $ 0.00           $ 0.00             $ 0.00
      Debt Secured by Vehicle                  $ 14,489.00      $ 14,489.00           $ 426.53
      All Other Secured                              $ 0.00           $ 0.00             $ 0.00
TOTAL SECURED:                                 $ 14,489.00      $ 14,489.00           $ 426.53

Priority Unsecured Payments:
        Domestic Support Arrearage                   $ 0.00           $ 0.00             $ 0.00
        Domestic Support Ongoing                     $ 0.00           $ 0.00             $ 0.00
        All Other Priority                     $ 17,263.76      $ 17,263.76           $ 591.72
TOTAL PRIORITY:                                $ 17,263.76      $ 17,263.76           $ 591.72

GENERAL UNSECURED PAYMENTS:                     $ 2,944.88       $ 2,944.88           $ 118.05



Disbursements:

       Expenses of Administration               $ 3,434.94
       Disbursements to Creditors              $ 35,833.94

TOTAL DISBURSEMENTS:                                            $ 39,268.88




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        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 11/17/2017                        By: /s/ Lydia S. Meyer
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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